    Case 14-31229-sgj15           Doc 13     Filed 03/10/14 Entered 03/10/14 17:28:11                   Desc Main
                                            Document      Page 1 of 4

                                                                                                 U.S. BANKRUPTCY COURT

                                                                                              NORTHERN DISTRICT OF TEXAS


                                                                                                 ENTERED
                                                                                              TAWANA C. MARSHALL, CLERK
                                                                                                  THE DATE OF ENTRY IS
                                                                                                 ON THE COURT'S DOCKET


The following constitutes the ruling of the court and has the force and effect therein described.



Signed March 10, 2014
                                           United States Bankruptcy Judge
 ______________________________________________________________________



                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

                                                )
     In re                                      ) Chapter 15
                                                )
     MtGox Co., Ltd. (a/k/a MtGox KK)           ) Case No. 14-31229-sgj15
                                                )
                Debtor in a Foreign Proceeding. )
                                                )

                          ORDER GRANTING APPLICATION FOR
                    PROVISIONAL RELIEF, SCHEDULING RECOGNITION
                 HEARING, AND SPECIFYING FORM AND MANNER OF NOTICE
                             [Relates to Docket Nos. 3, 4, 5 and 6]

             Upon the Application for an Order Granting Provisional Relief, Scheduling Recognition

     Hearing, and Specifying Form and Manner of Notice (the “Application”)1 seeking certain

     provisional relief pursuant to sections 105(a) and 1519 of the Bankruptcy Code (the “Bankruptcy

     Code”); and upon the hearing on the Application and this Court’s review and consideration of

     the Application, the Gamlen Declaration, the Karpeles Declaration, and the Memorandum of

     Law in Support of Petition for Recognition and the Application for Provisional Relief,

     1
             Capitalized terms used but not otherwise defined herein shall have the same meanings ascribed to them in
     the Application.



     770356-v2\DALDMS
Case 14-31229-sgj15            Doc 13      Filed 03/10/14 Entered 03/10/14 17:28:11                       Desc Main
                                          Document      Page 2 of 4



 Scheduling Recognition Hearing, and Approving Form and Manner of Notice; and considering

 the statements and arguments of counsel present (in person and telephonically) at the hearing;

          IT IS HEREBY FOUND AND DETERMINED THAT:2

          A.        This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

 1334, and 11 U.S.C. §§ 109 and 1501.

          B.        The consideration of the Application and the relief requested therein is a core

 proceeding under 28 U.S.C. § 157(b)(2)(P).

          C.        Venue is proper before this Court for the purposes of this hearing pursuant to 28

 U.S.C. § 1410.

          D.        For the reasons stated on the record the Court finds that cause exists to grant the

 relief herein.

          E.        MtGox Co., Ltd. (a/k/a MtGox KK), (the “Debtor”) is entitled to the full

 protections and rights available pursuant to section 1519(a)(1)-(3) of the Bankruptcy Code.

          F.        The form and manner of the proposed Notice to be provided to known affected

 creditors is appropriate and satisfies the requirements of Bankruptcy Rules 1011(b), 2002(q), and

 9007.




 2
          The findings and conclusions set forth herein and in the record of the hearing on the Application
 constitute this Court’s findings of facts and conclusions of law pursuant to Rule 52 of the Federal Rules of Civil
 Procedure, as made applicable herein by Rules 7052 and 9014 of the Federal Rules of Bankruptcy Procedure (“the
 Bankruptcy Rules”). To the extent any of the findings of fact herein constitute findings of fact, they are adopted
 here as such. To the extent any of the conclusions of law herein constitute finding of fact, they are adopted as such.

 770356-v2\DALDMS                                          2
Case 14-31229-sgj15           Doc 13    Filed 03/10/14 Entered 03/10/14 17:28:11            Desc Main
                                       Document      Page 3 of 4



      BASED ON THE FOREGOING FINDINGS OF FACT AND AFTER DUE
 DELIBERATION AND SUFFICIENT CAUSE APPEARING THEREFOR, IT IS
 HEREBY ORDERED THAT:

         1.         The Debtor is entitled to the full protections and rights available pursuant to

 section 1519(a)(1)-(3) of the Bankruptcy Code. Pursuant to sections 1519(a)(3) and 1521(a)(7)

 of the Bankruptcy Code, section 362 of the Bankruptcy Code is applicable to the Debtor and its

 assets until further order of this Court, or as so ordered at the Recognition Hearing.

         2.         The Recognition Hearing shall be held on April 1, 2014 at 1:30 p.m. and

 continue, if necessary, on April 2, 2014 at 9:30 a.m. (CST), before the Honorable Stacey G.C.

 Jernigan, United States Bankruptcy Court, Northern District of Texas, 14th Floor, 1100

 Commerce Street, Dallas, Texas 75252.

         3.         The form of notice of the Recognition Hearing attached to the Application as

 Exhibit B (the “Notice”) is hereby approved.

         4.         Petitioner shall serve copies of the Notice and this Order by e-mail and/or express

 mail, within three business days upon the entry of this Order upon the Notice Parties.

         5.         If any party files a notice of appearance in this case, Petitioner shall serve the

 Notice and the Order upon such party within two business days of the filing of such notice of

 appearance if such documents have not already been served on such party (or its counsel).

         6.         Service pursuant to this Order shall be good and sufficient service and adequate

 notice of the Recognition Hearing.

         7.         Responses or objections, if any, to the Petition must be made in writing describing

 the basis therefore and shall be filed with this Court and served upon Baker & McKenzie LLP,

 2300 Trammell Crow Center, 2001 Ross Avenue, Dallas, Texas 75201 (Attention: David W.

 Parham and John Mitchell) and Baker & McKenzie LLP, 300 East Randolph Drive, Suite 5000,



 770356-v2\DALDMS                                    3
Case 14-31229-sgj15       Doc 13     Filed 03/10/14 Entered 03/10/14 17:28:11            Desc Main
                                    Document      Page 4 of 4



 Chicago, Illinois 60602 (Attention: Erin E. Broderick), United States counsel to the Petitioner, so

 as to be received on or before 4:00 p.m. (Central Time) seven days prior to the Recognition

 Hearing.

                                   # # # END OF ORDER # # #

 Prepared and submitted by:

 BAKER & McKENZIE LLP

 /s/ David W. Parham
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 - and -

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 Attorneys for the Petitioner Robert Marie Mark Karpeles,
 Foreign Representative of MtGox Co., Ltd., a/k/a MtGox KK




 770356-v2\DALDMS                                4
